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                                  UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
MONTIE SPIVEY                                               CIVIL ACTION NO:

VERSUS                                                      JUDGE:

CHITIMACHA TRIBE OF
LOUISIANA, CYPRESS BAYOU
CASINO, APRIL WYATT, JACOB
DARDEN, TOBY DARDEN and
JACQUELINE JUNCA                                            MAG JUDGE:

                                                   COMPLAINT
       NOW INTO COURT, through undersigned counsel comes, Montie Spivey,                  a person   of the

full   age of majority and domiciliary of St. Mary Parish Louisiana who alleges as follows:




                                              I.     DEFENDANTS

       1.   Made defendants herein are:

            a)   THE CHITIMACHA TRIBE OF LOUISIANA,                   a domestic independent   Indian

                 nation, physically located in the Parish of St. Mary, State of Louisiana

            b)   CYPRESS BAYOU CASINO, a gambling casino owned by The Chitimacha Tribe

                 of Louisiana, located in Parish of St. Mary, State of Louisiana

            c) APRIL     WYATT individually        and her capacity as the Chitimacha Tribe of Louisiana

                 Council Vice Chairman, a person of the full age of majority and resident of Louisiana

            d)   JACOB DARDEN, individually, in his capacity        as a   former council member at the

                 time of the alleged wrongdoing, and a person of the full age of majority and resident

                 of the State of Louisiana.




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        a) TOBY    DARDEN, individually, in his capacity as a former council member at the

           time of the alleged wrongdoing, and a person of the full age of majority and resident

           of the State of Louisiana.

        e) JACOUELINE        JUNCA, individually, in her capacity as a former council member at

           the time of the alleged wrongdoing, and a person of the full age of majority and

           resident of the State of Louisiana.




                                        I.       JURISDICTION

   2.   This action arises under Title 42 U.S.C $1983 and $1985 as Plaintiff, Montie Spivey's

        civil rights were violated by the defendants. This court   has   jurisdiction over the action

        under Title 28 U.S.C. $ 1331 and Title 28 U.S.C. $1376. Venue is proper in this Judicial

        District pursuant to Title 28 U.S.C. $ 1391



                                             II.       FACTS

   3.   The facts surrounding this action date back to 2015. Plaintiff Montie Spivey was serving

        in his capacity as the Chief Financial Officer'.CFO" of the Cypress Bayou Casino, a

        gambling casino in St. Mary Parish Louisiana. The Cypress Bayou Casino is owned by

        the Chitimacha Tribe of Louisiana.

   4.   In November of 2015, O'Neil Darden was elected as the Tribal Council Chairman to

        Chitimacha Tribe of Louisiana. Prior to his election, Darden worked as an employee of

        the Cypress Bayou Casino as the EventiCatering Director.

   5. At the time of the alleged wrongdoing the Tribal Council for The Chitimacha           Tribe of

        Louisiana consisted of 5 individuals: O'Neil Darden (Chairman), April Wyatt (Vice-



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         Chairman), Jacob Darden (Council Member), Toby Darden (Council Member),

         Jacqueline Junca (Secretary/Treasurer)

   6.    The Tribal Council is the governing body over all of the enterprises of The Chitimacha

         Tribe of Louisiana, including Cypress Bayou Casino. The directors and officers of

         Cypress Bayou Casino answer to the Tribal Council.

   7.    Cypress Bayou Casino has incentive plans in places for its employees that provide for the

         distribution of bonuses to be paid out when the Casino attains a targeted revenue. In 2015

         the targeted revenue for the casino was attained and an incentive/bonus plan was in order

         for its employees.

   8.    The incentive plan in 2015 consisted of approximately 600 bonus payouts to the Cypress

         Bayou Casino Employees. Anthony Patrone, who at the time was the CEO of Cypress

         Bayou Casino was in charge of formulating the incentive plan and determining the

         number of bonuses that would be paid out. The amounts were determined by the position

         held the by employee. Employees other than the directors and managers were allocated a

         fixed amount based upon their position. The directors and managers would receive      a

         percentage based upon their annual salary.

   9.    The allocation and amounts of the bonuses had to be approved by the Tribal Council

         before distribution.

   10. The Chitimacha Trial Laws prohibit a council member from working in the Casino or

         receiving any funds in the form of payments from the casino.

   1   1. Prior to his election as Chairman   O'Neil Darden held a director position with the Cypress

         Bayou Casino. Darden worked for several months in 2015 prior to his election and he




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         eamed nearly nine months'worth of salary. The election of Darden as Tribal Chairman

         was the first time that a Cypress Bayou Casino Employee had been elected as Chairman.

   12.ln November of 2019 a meeting was held with the Tribal Council. Anthony Patrone

         attended to discuss the incentive/bonus plan. A topic of discussion was whether or not

         O'Neil Darden should receive   a bonus. The rationale   for the giving Darden the bonus was

         based solely upon his employment as a director with Cypress Bayou Casino. It was

         determined that if Darden received a bonus, it would be a prorated amount based upon

         the amount of time, he worked at the casino prior to becoming Tribal Council Chairman.

         The amount was determined to be approximately $3900. At the initial meeting there was

         no opposition to Darden receiving the bonus.

   13.   It was further determined that the bonuses would be paid out through the payroll system

         for the casino. O'Neil Darden has been removed from the payroll system following his

         election. Anthony Patrone instructed Montie Spivey to put O'Neil Darden back into the

         payroll system for the sole purpose of paying him his prorated bonus. This was the only

         way to accomplish the payment without subverting IRS guidelines regarding payroll

         taxes.

   14. As the CFO of the casino,    Monty Spivey was responsible for overseeing the processing

         of the bonuses to the employees. O'Neil Darden's bonus was distributed via direct

         deposit on January 5,2016.

   15. Prior to the bonuses being distributed, Montie Spivey engaged in numerous verbal

         conversations and email exchanges regarding the approval of the bonuses. Spivey had

         specific communications with Patty Perry the chief financial officer for the Tribal

         Council regarding the addition of O'Neil Darden to the bonus list and the amount he



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         would receive. Not once did he receive any indication that a bonuses to Darden was

         improper.

   16. Out of an abundance of caution     O'Neil Darden decided that it was best not to receive the

         bonus given his newly elected position as chairman. On January 7,2015 Darden

         contacted Montie Spivey and instructed him to take him off the bonus list and not to

         deposit the funds in his account. Spivey indicated that the funds had already been

         processed. There was no way to stop the deposit from going through. The only way to

         rectiff the situation was for Darden to reissue a check back to the Casino. This is

         evidenced by an email exchange between Spivey and Darden

   17.   At some point between January 7,2016 and January 22,2016        a complaint was made to

         the tribal gaming commission of an alleged "misappropriation of bonus monies" that

         occurred and the Louisiana State Police was called to investigate. After investigating and

         interviewing several individuals, O'Neil Darden, Montie Spivey and Anthony Patrone

         were criminally charged for felony theft and unauthorized use of a moveable. Spivey and

         Patrone were physically arrested. As a result of the arrest, Montie Spivey's Key Liscense

         was suspended.

   18. Subsequently, the alleged charges were presented to the U.S. Attorney for the Western

         District of Louisiana. After review of the matter the U.S. Attorney declined to prosecute

         and the matter was sent back to The Chitimacha Tribal Council.    At that point the Council

         was vested with the decision to refer the matter to the local State District Attorney or "do

         whatever is best in the interest ofjustice". Despite having full knowledge of the

         circumstances surrounding the issuance of the bonus to O'Neil Darden, and     ratif ing the




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       decision to issue said bonus, the council decided to pursue the baseless charges with the

      District Attorney for the     16th JDC Parish   of St. Mary.

   19. Assistant District Attomey Robert Vines for the 16th JDC Parish of St. Mary agreed to

      prosecute the matter on behalf of the State of Louisiana. Ironically Mr. Vines has been

      the Tribal Prosecutor for The Chitimacha Tribe of Louisiana for years.

   20. The prosecution of this matter would linger on for years. Ultimately, Montie Spivey

      finally received   a   letter on July 30,2020 informing him that the   16th   JDC for the Parish of

      St. Mary was not going to indict him and no further charges would be sought.

   21. Montie Spivey had this matter looming over him for nearly 5 years fearing the day actual

      charges would be brought against him. Despite the fact that no charges were brought

      against him, Montie Spivey's key license remains suspended. He is unable to work in any

      casino as a result of this suspension.

   22.Upon information and belief, the decision on part of the Chitimacha Tribal Council was

      nothing more than an attempt to oust O'Neil Darden as Chairman. Montie Spivey acting

      as CFO of the Cypress Bayou Casino was collateral damage in the Council's attempt to

      remove O'Neil Darden as Council Chairman.

   23. Despite following orders from his superiors and supervisors, Montie Spivey was

      wrongfully terminated from his position as CFO of Cypress Bayou Casino as a result of

      the criminal charges that were brought against him.

   24.The council members violated Montie Spivey's civil rights by mobilizing State Law

      Enforcement to pursue baseless criminal charges for its own personal gain and

      motivations.




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   25. Claimant teserves the right to assert additional acts of commission and/or omission    as


      may emerge during discovery of this matter.




                                  III.    CAUSES OF ACTION

   26. Plaintiff Montie Spivey alleges that the Tribal Council Members actions denied and

      violated his civil rights. Montie Spivey seeks damage for injuries set forth under 42

      U.S.C$ 1893 and $1985 against the council members in their individual capacities for

      intentionally causing and/or negligently allowing frivolous criminal charges to be brought

      against Plaintiff.

   27. The named Tribal Council    members committed acts of maliciousness and utter disregard

      for the constitutional rights of Plaintiff, and are entitled to punitive damages and

      attorney's fees pursuant to 42 U.S.C. $ 1988.

   28. Supplemental Jurisdiction of this Court is hereby invoked pursuant to 23 U.S.C. $1367

      and claimant asserts all state causes of action available to him including those available

      under Louisiana Civil Code Article 2315. Under Louisiana State Law, claims are brought

      against The Chitimacha Tribe of Louisiana and the Cypress Bayou Casino for the

      intentional and negligent actions of its tribal council members bringing a frivolous

      criminal complaint against its employees.




                                         IV.    DAMAGES

          As a consequence of the actions of the defendants, claimant Montie Spivey asserts

          claims for damages including but not limited to:




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           a)   General Damages including emotional distress, mental anguish, public

                humiliation and embarrassment and loss of enjoyment of life.

           b)   Loss of earnings due to his wrongful termination

           c)   Punitive/exemplary damages for the actions of the Defendants

           d) All other damages which        may be proven at the trial of this matter or discovered

                prior to trial.

                                        V.       TRIAL BY JURY

   29. Claimant makes a demand for a trial by ju.y

                                             VL         PRAYER

   30. Wherefore, Claimant Montie Spivey prays for Judgment against defendants jointly, and

      in solido as follows

      1) In favor of Montie       Spivey for such damages including punitive/exemplary damages

           as are reasonable.

      2)   Legal interest on the amounts prayed for from date ofjudicial demand until paid and

           all cost of these proceedings

      3) For a Trial by jury; and
      4)   For all general and equitable relief to which he may be entitled.


                                                 Respectfully submitted by:

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                                   Attorneys for Plaintiff




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